                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF IOWA
                                       CENTRAL DIVISION


    CHRISTOPHER W. (BRUCE) THE LIVING                                      4:18-CV-00040-HCA
    MAN, ELIZABETH (BRUCE), THE
    LIVING WOMAN,

          Plaintiffs,                                             DEFENDANTS POLK COUNTY
                                                                  ATTORNEY’S OFFICE, JOHN P.
    vs.                                                            SARCONE, JESSE RAMIREZ,
                                                                  STEPHANIE BROWN, KEVIN J.
    POLK COUNTY ATTORNEY’S OFFICE,                             BROWNELL, KEVIN BELL and LINDA
    ET AL.,                                                     LANE’S PRE- ANSWER MOTION TO
                                                                 DISMISS AMENDED COMPLAINT
          Defendants.


           COMES NOW Defendants Polk County Attorney’s Office, John P. Sarcone, Jesse

Ramirez, Stephanie Brown, Kevin J. Brownell, Kevin Bell, and Linda Lane (hereinafter County

Defendants) and move to dismiss the above-captioned complaint pursuant to Federal Rule of

Civil Procedure 12(b)(6). In support thereof, County Defendants respectfully state the following:

           1.       The Plaintiff, Christopher W. Bruce, the Living Man, (hereinafter Bruce) filed a

Complaint under 18 U.S.C. section 1961, 18 U.S.C. section 241 and 42 U.S.C. section 1983 on

March 19, 2018. [Doc. 5]. The Plaintiffs alleged their First, Fifth, Sixth, and Eighth

Amendment rights were violated during state termination of parental rights action and criminal

investigations and prosecutions. Plaintiffs alleges the named Defendants unlawfully removed

their daughter and terminated their rights and had Bruce arrested on false charges.1 Plaintiffs

seek to have their parental rights restored, ask for visitation to be ordered, that his criminal


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 Plaintiffs previously filed a habeas petition alleging unlawful removal of their daughter, unlawful termination of
parental rights, and false arrest. 4:15-cv-00287-RP [Doc. 1]. Defendants Brownell, Bell, and Brown were named
defendants in that case. The Court dismissed the case, finding Plaintiffs did not have standing to seek criminal
charges against the Defendants, that habeas petition was not available to challenge custody matters, and that
Plaintiffs had failed to exhaust their claims in state court. [Doc. 2].
records be expunged, that the Court order Defendant Sarcone to resign as Polk County Attorney,

that criminal charges be filed against County Defendants, and that money damages and

injunctive relief be granted. [Doc. 5, p. 48-49].

       2.      The Amended Complaint fails to present a justiciable cause of action against the

County Defendants.

       3.      County Defendants move to dismiss the Third Amended Complaint under Federal

Rule of Civil Procedure 12(b)(1), (5) and (6) as:

               a. Insufficient service of process occurred;

               b. Plaintiffs’ claims against County Defendants are barred by Heck v. Humphrey;

               c. Plaintiffs’ claims against County Defendants are barred by Rooker-Feldman.

               d. County Defendants are entitled to absolute prosecutorial immunity;

               e. County Defendants are entitled to qualified immunity;

               f. Plaintiffs’ claims are barred by the applicable statute of limitations.

       WHEREFORE Defendants Polk County Attorney’s Office, John P. Sarcone, Jesse

Ramirez, Stephanie Brown, Kevin J. Brownell, Kevin Bell, and Linda Lane respectfully requests

that this Court grant their Motion to Dismiss.


                                                 Respectfully submitted,

                                                 JOHN P. SARCONE
                                                 POLK COUNTY ATTORNEY

                                                 /s/ Julie J. Bussanmas
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                                                    ATTORNEY FOR DEFENDANT
                                                    SARCONE




                      PROOF OF SERVICE

The foregoing document was served upon the parties to this
action by serving a copy on the person(s) listed below on
05/14/2018 by regular mail and by electronic mail through
CM/ECF.

Christopher Bruce
701 S. Duluth Ave., Apt. 1
Sioux Falls, SD 57104

Elizabeth Bruce
701 S. Duluth Ave., Apt. 1
Sioux Falls, SD 57104


Signature: /s/ Amber Cahill




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